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                                                                   7   Attorneys for Debtor and Debtor in Possession

                                                                   8                                   UNITED STATES BANKRUPTCY COURT

                                                                   9                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                  10                                              LOS ANGELES DIVISION

                                                                  11   In re:                                                        Case No.: 2:19-bk-24804-VZ
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   YUETING JIA,1                                                 Chapter 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13                                       Debtor.                   FIRST INTERIM APPLICATION OF PQBDN
                                           ATTORNEYS AT LAW




                                                                                                                                     LLC FOR INTERIM APPROVAL OF
                                                                  14                                                                 COMPENSATION AND REIMBURSEMENT
                                                                                                                                     OF EXPENSES; DECLARATION OF
                                                                  15                                                                 ROBERT MOON IN SUPPORT THEREOF

                                                                  16                                                                 Application Period:
                                                                                                                                     November 17, 2019 through April 12, 2020
                                                                  17
                                                                                                                                     Hearing:
                                                                  18                                                                 Date: May 7, 2020
                                                                                                                                     Time: 1:30 p.m.
                                                                  19                                                                 Place: Courtroom 1368
                                                                                                                                             Roybal Federal Building
                                                                  20                                                                         255 E. Temple Street
                                                                                                                                             Los Angeles, California 90012
                                                                  21
                                                                                                                                     Judge: Hon. Vincent P. Zurzolo
                                                                  22

                                                                  23            PQBDN LLC (“PQBDN” or “Applicant”), financial advisor to Yueting Jia, debtor and debtor

                                                                  24   in possession, represents:

                                                                  25

                                                                  26

                                                                  27

                                                                  28   1
                                                                         The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
                                                                       Marguerite Drive, Rancho Palos Verdes, CA 90275.

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                                                                   1                                                     I.

                                                                   2                                            INTRODUCTION

                                                                   3           PQBDN respectfully applies under 11 U.S.C. 330, 331, 503(b), and 507(a)(2) and Local

                                                                   4   Bankruptcy Rule 2016-1 for interim allowance and payment of compensation for services rendered,

                                                                   5   and reimbursement of expenses incurred, from November 17, 2019 through April 12, 2020 (the

                                                                   6   “Application”).

                                                                   7           On February 25, 2020 PQBDN was retained as financial advisor nunc pro tunc to

                                                                   8   November 17, 2019. This is the first application by PQBDN in this case and no advance fee has been

                                                                   9   paid to PQBDN.

                                                                  10           By way of this Application, PQBDN seeks interim approval of financial advisor fees and

                                                                  11   expenses incurred from November 17, 2019 through April 12, 2020 (the “First Interim Reporting
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12   Period”) in the amounts of $228,396.00 and $1,276.60, respectively, and for authorization of
                                        LOS ANGELES, CALIFORNIA




                                                                  13   payment for these fees and expenses.
                                           ATTORNEYS AT LAW




                                                                  14   A.      Exhibits to this Application

                                                                  15           The nature and extent of PQBDN’s services during the First Interim Reporting Period, and

                                                                  16   other information, are described in subsequent paragraphs and in the following exhibits to this

                                                                  17   Application:

                                                                  18           Exhibit “A” provides the detailed time entries for the services provided by PQBDN as well

                                                                  19   as the details of expenses incurred.

                                                                  20           Exhibit “B” includes a resume that describes the education and qualifications of the PQBDN

                                                                  21   professional whose time constitutes the basis for this Application.

                                                                  22   B.      Reasonableness of Rates

                                                                  23           PQBDN attempts to gather accurate information about rates charged by comparable advisory

                                                                  24   firms engaged in comparable activities to ensure its rates are competitive. PQBDN is informed and

                                                                  25   believes the rates charged are fair and reasonable considering the rates charged by comparable firms.

                                                                  26   All services included in this Application were billed at the approved standard hourly rates.

                                                                  27

                                                                  28


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                                                                   1                                                       II.

                                                                   2                                               BACKGROUND

                                                                   3             Pursuant to Local Bankruptcy Rule 2016-1(a)(1)(A)(iv), PQBDN incorporates by reference

                                                                   4   the First Interim Application of Pachulski Stang Ziehl & Jones LLP for Interim Approval and

                                                                   5   Payment of Compensation and Reimbursement of Expenses to be heard contemporaneously by the

                                                                   6   Court.

                                                                   7                                                       III.

                                                                   8                                SUMMARY DESCRIPTION OF SERVICES

                                                                   9             Without limiting the detail of PQBDN’s services contained in Exhibit “A”, following are

                                                                  10   summary descriptions of the services provided during the First Interim Reporting Period:

                                                                  11   A.        Case Administration: (Hours: 4.7; Fees: $4,433)
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12             Functions directly related to the administration of the Chapter 11 case including US trustee
                                        LOS ANGELES, CALIFORNIA




                                                                  13   reports and debtor-in-possession financing activities.
                                           ATTORNEYS AT LAW




                                                                  14   B.        Creditor Committee Due Diligence Assistance: (Hours: 48.0; Fees: $45,600)

                                                                  15             Functions directly related to the provision, distribution and explanation of due diligence

                                                                  16   requests from the unsecured creditors committee and its advisors as well as from the US Trustee’s

                                                                  17   Office.

                                                                  18   C.        Plan and Disclosure Statement: (Hours: 31.3; Fees: $29,797)

                                                                  19             Functions directly related to the development, negotiation, filing and approval of the Plan

                                                                  20   and Disclosure Statement of the Debtor. (Does not include activities related specifically to the Plan

                                                                  21   Recovery Analysis and Liquidation Analysis.)

                                                                  22   D.        Plan Recovery Analysis and Liquidation Analysis: (Hours: 98.8; Fees: $93,892)

                                                                  23             Functions and activities directly related to the development of the Plan Recovery Analysis

                                                                  24   and Liquidation Analysis. The activities included due diligence with respect to the Debtor’s assets,

                                                                  25   development of plan analyses (best interests etc.), financial analysis of multiple recovery scenarios,

                                                                  26   analysis of impediments to recovery, and coordination of recovery analysis with multiple iterations

                                                                  27   of the Plan.

                                                                  28   E.        Court Hearings and Court Mandated Mediation: (Hours: 40.0; Fees: $37,604)


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                                                                   1           Time spent participating at Bankrupty Court hearings and Court-mandated mediation

                                                                   2   proceedings.

                                                                   3   F.      Employment Applications/Fee Applications: (Hours: 12.5; Fees: $11,875)

                                                                   4           Functions directly related to the employment and fee applications of PQBDN.

                                                                   5   G.      Travel Time: (Hours: 5.5; Fees: $5,225)

                                                                   6           Travel time incurred in conjunction with the December 18, 2019 hearing in Delaware

                                                                   7   Bankruptcy Court (billed at 50%).

                                                                   8                                                    IV.

                                                                   9                                SUMMARY DESCRIPTION OF EXPENSES

                                                                  10           PQBDN incurred out-of-pocket costs in connection with services rendered as follows:

                                                                  11   A.      Airline Travel ($1,276.60)
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12           This consists of a round trip flight from Los Angeles to Philadelphia (Departure
                                        LOS ANGELES, CALIFORNIA




                                                                  13   December 17, 2019 / Return December 18, 2019) in order to attend a scheduled hearing of this
                                           ATTORNEYS AT LAW




                                                                  14   proceeding in Delaware bankruptcy court.

                                                                  15                                                     V.

                                                                  16                                             CONCLUSION

                                                                  17           Applicant believes compensation awarded herein will account for the quality of services

                                                                  18   rendered, the complexity of the issues at hand, the desirability of employment, the results obtained

                                                                  19   and the contingency thereof, as well as the actual hours expended. Applicant believes payment of its

                                                                  20   fees is justified when weighed against the benefit of its work, as described above.

                                                                  21           No agreement exists between Applicant and any other person for the sharing of

                                                                  22   compensation that is received in connection with case.

                                                                  23           Notice of this fee application has been provided by Debtor’s general bankruptcy counsel to

                                                                  24   the Debtor, the Committee, and other parties in interest as required under applicable federal and

                                                                  25   local rules.

                                                                  26           WHEREFORE, Applicant respectfully requests the following: (a) interim allowance for the

                                                                  27   fees incurred during the First Interim Reporting Period in the amount of $228,396.00, a total of

                                                                  28   240.4 hours at a rate of $950.00 per hour, (b) reimbursement of expenses incurred during the First


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                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                           10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

  A true and correct copy of the foregoing document entitled (specify): FIRST INTERIM APPLICATION OF PQBDN LLC
  FOR INTERIM APPROVAL OF COMPENSATION AND REIMBURSEMENT OF EXPENSES; DECLARATION OF
  ROBERT MOON IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and
  manner required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 16, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date) April 16, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case
 or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
 class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
 will be completed no later than 24 hours after the document is filed.

     VIA U.S. MAIL
     United States Bankruptcy Court
     Central District of California
     Attn: Hon. Vincent Zurzolo
     Edward R. Roybal Federal Bldg./Courthouse
     255 East Temple Street, Suite 1360
     Los Angeles, CA 90012

                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) April 16, 2020, I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 16, 2020               Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                         Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

        Tanya Behnam tbehnam@polsinelli.com, tanyabehnam@gmail.com
        Jerrold L Bregman ecf@bg.law, jbregman@bg.law
        Jeffrey W Dulberg jdulberg@pszjlaw.com
        Lei Lei Wang Ekvall lekvall@swelawfirm.com, lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com
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        David B Zolkin dzolkin@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL

BY EMAIL:

L. Katherine Good: kgood@potteranderson.com
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Diana Perez: dperez@omm.com
TJ Li: tli@omm.com
Kelly L Morrison on behalf of U.S. Trustee U.S. Trustee kelly.l.morrison@usdoj.gov




    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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